10/13/22, 9:19 AM                                        Gmail - Order Staying Execution of Search Warrant



                                                                                           William Most <williammost@gmail.com>



  Order Staying Execution of Search Warrant
  William Most <williammost@gmail.com>                                                                       Mon, Jan 27, 2020 at 1:27 PM
  To: fitzpatrick_je@jpso.com
  Cc: Amanda Hass <amanda.hass@gmail.com>


    John,

    Attached is our motion and the judge's order staying execution of the school-record search warrant under OPSO Item
    No. JPSO A—15488-20.

    Once you've taken a look at our motion, perhaps we can talk about whether any other warrants under the same item
    number can be stayed - at least pending the court's ruling on this one after the Feb. 6 hearing.

    Thank you!

    William Most
    Law Office of William Most
    (504) 509-5023
    Williammost@gmail.com

          2020.1.27 - Order Staying Execution of Search Warrant.pdf
          1282K




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